      Case 18-20103-tnw         Doc 85 Filed 04/10/19 Entered 04/10/19 10:24:59                     Desc Order
                                   re: Hearing on Objection Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Kentucky
                                            Covington Division
                                         Mailing Address: P.O. Box 1111, Lexington, KY 40588−1111



In re Irmlinde Nelson
                                                                     Case No. 18−20103−tnw
        12006 Flagg Springs Pike
        California, KY 41007                                         Chapter: 13
 aka/dba:
 SSN/TID: xxx−xx−7184


Debtor(s)


                                                            ORDER
     A(n) Objection to Claim [ECF No. 74] having been filed March 11, 2019 , on behalf of
debtor , and an objection [ECF No. 84] to the matter having been filed that is defective for the
following reason(s):

     Notice of hearing is missing/incorrect. Go to www.kyeb.uscourts.gov to obtain correct hearing information.

     Other.




     IT IS ORDERED that Branch Banking & Trust Company shall properly notice said matter for
hearing within 7 days from the date of this order, or the objection shall be deemed overruled.

DATED: 4/10/19

                                                                       By the court −

                                                                      /s/ Tracey N. Wise
                                                                      Tracey N. Wise
                                                                      U.S. Bankruptcy Judge

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